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                       Exhibit 3
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       From
       Date Monday December 21 2020
       Subject          Re     So    far    I   count       34
       To         kberman




       Will       do    I   didn't   ck     again       I   will   though




                                                                       kbermangdecisiondiagnostics        net

       let    me know when                 it
                                                gets to      75    or 80



       then       they will take           it
                                                seriously




       On 12212020 5 17                         PM                                  wrote


             Hi


             So   far   I   counted 34 but I'm sure there                   are   more   that   are   part of other
             fb   threads      Some         people said they tweeted              XPRIZE




       This email has been checked                           for   viruses by   AVG
       https www avg co




                                                                                                                      DOJ-BERMAN_043892

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       From    KMB
       Date Tuesday December 22 2020
       Subject   Re   Got the kit   Thank     you
       To


       good      are you at 100   yet




       On 12222020 3 22       PM                             wrote




       This email has been checked      for   viruses by   AVG
       https www avg co




                                                                              DOJ-BERMAN_043893

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